Case 2:03-cv-02939-.]DB-dkv Document 140 Filed 06/08/05 Page 1 of 2 Page|D 118

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wEsTERN DIVISION 95 JUH °3 PM 2‘ 55
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ELLIPSIS, INC.,
Plaintiff,
VS.

Case No. 03-2939 BV

THE COLOR WORKS, INC.,

Defendant.

 

MODIFIED SCHEDULING ORDER

 

lt appearing to the Court that the parties consent motion to modify the scheduling order is

Well taken, it is hereby ORDERED that the following deadlines are established:

TCW to Provide Affinnative Expert Reports: July 15, 2005

C]ose of Fact Discovery: July 15, 2005
Ellipsis to Provide Rebuttal Expert Disclosures: August 15, 2005
Ellipsis to Provide Rebuttal Expert Reports: August 15, 2005
Close of Expert Discovery: September 2, 2005
Filing Dispositive Motions: September 15, 2005

These dates may not be modified absent subsequent order of the Court.

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lt is so ORDERED this day of lune, 2005.

{Mzzm§®_,z} Ti.;s document entered on the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 140 in
case 2:03-CV-02939 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

